FREDERICK FOX &amp; CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Frederick Fox &amp; Co. v. CommissionerDocket No. 38677.United States Board of Tax Appeals19 B.T.A. 232; 1930 BTA LEXIS 2445; March 10, 1930, Promulgated *2445  A provision in a lease under which the lessor has the option of canceling the lease prior to the expiration of the term therein specified is no ground, until exercised, of allowing a deduction to the lessee on account of the cost of the improvements other than over the life of the improvements or the term of the lease, whichever is shorter.  C. M. Edelman, Esq., for the petitioner.  John D. Kiley, Esq., for the respondent.  SEAWELL*232  This proceeding involves a deficiency in income tax for 1925 in the amount of $245.33.  The only issue presented is the basis for amortizing improvements made by petitioner (lessee) upon leased property.  FINDINGS OF FACT.  The petitioner is a New York corporation with its principal place of business in New York City.  On February 7, 1924, petitioner secured a lease on certain premises for a period of 10 years beginning May 1, 1924, and ending May 1, 1934.  The lease contained the following provisions with respect to improvements and the termination of the lease: PERMISSION is hereby granted the Tenant, at its own cost and expense, to make alterations and improvements in the premises, and, if any alterations*2446  be contemplated to the front of said building, plans and specifications thereof *233  shall first be submitted to and approved by the Landlord before such work is commenced, and all alterations and improvements shall be made in conformity with the rules and regulations of all Municipal, State and Federal Departments having jurisdiction.  * * * IT is further convenanted and agreed that the Landlord shall have the right to terminate and end this lease on or after May 1, 1926, first, in case a contract of sale of the premises is entered into; second, in case it is desired to demolish the building, in either case by giving ninety (90) days' prior notice to the Tenant of his intention so to do.  In the event that said notice is given, the term created by this lease shall thereupon cease at the expiration of said ninety (90) days in the same manner and to the same effect as if that were the expiration of the original term of this lease.  If pursuant to such notice this lease shall be terminated on May 1, 1926, then the Landlord agrees to pay the Tenant, upon surrender of the premises, the cost, not exceeding Six thousand (6000) Dollars, of any alterations and improvements that*2447  the Tenant makes in the year 1924, provided receipted bills showing the cost thereof are submitted to the Landlord by January 1, 1925.  If the lease shall terminate thereafter, then, upon surrender of the premises, the Landlord will pay the Tenant according to the following schedule: Term ended between - Percentage of cost But not of alterationsexceeding theand improvementssum of -to be paidMay 2, 1926, to May 1, 1927 190$5,400May 2, 1927, to May 1, 1928 1804,800May 2, 1928, to May 1, 1929 1704,200May 2, 1929, to May 1, 1930 1503,000May 2, 1930, to May 1, 1931 1402,400May 2, 1931, to May 1, 1932 1201,200May 2, 1932, to May 1, 1933 110600May 2, 1933, to May 1, 1934 1None.None.Provided, however, that in every case the alterations and improvements are made in the year 1924 and receipted bills showing the cost thereof are submitted to the Landlord by January 1, 1925.  Pursuant to the foregoing provisions, petitioner made alterations and improvements in 1924 at a cost of $10,874.40.  The option on the part of the lessor to cancel the lease has never been exercised and*2448  the petitioner is still in possession of the leased premises.  The petitioner claimed a deduction in 1925, on account of the amortization of the cost of the foregoing improvements, on the basis of the following computation: Cost of alterations$10,874.40Amount to be paid if canceled May 1, 19266,000.00Loss on improvement May 1, 1924, to May 1, 19264,874.40Loss applicable May 1, 1924, to December 31, 1925 (20/24)4,062.00Less previously charged off in 19241,087.44Unused loss deducted in 19252,974.56*234  whereas the Commissioner allowed a deduction of $1,087.44, or one-tenth of the total cost.  OPINION.  SEAWELL: The general rule for the amortization of the cost of improvements made by a lessee upon leased premises is that such cost shall be spread over the life of the improvements or the term of the lease, whichever is shorter.  . We do not think the foregoing rule should be varied merely because there exist provisions under which the lessor may cancel the lease prior to the expiration of the term therein specified.  When and if this contingency occurs, it will*2449  then be time enough to consider the deduction allowable on account thereof.  Suffice it to say that it has not occurred in the case at bar and there is no contention that the life of the improvements is less than the 10-year term of the lease.  Judgment will be entered for the respondent.Footnotes1. Inclusive. ↩